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                                 UN ITED STA TE S DISTRICT CO U RT
                                 SO U TH ER N DISTRICT O F FLO RIDA

                              CASE NO. 20-mj-03470-AOR


        IN RE SEA LED CO M PLAINT
        Latoya Stanley and Jolm ny Plzilus


                                       CR INHN AL CO V ER SH EET

           D id this m atter originate from a m atterpending in the CentralRegion of the United States
           AtlonAey'sOfficepriortoAugust9,2013(M ag.JudgeAliciaValle)?               --.Yes X No
           D id this m atteroriginate from a m atterpending in the Northem Region ofthe United States
           Attolmey'sOfficepriortoAugust8,2014(Mag.JudgeShaniekMaynard)?                Yes X No
           Did this m atter originate from a m atterpending in the CentralRegion of the United States
           Attorney'sOfficepriortoOctober3,2019(M ag.JudgeJared Strauss)?               Yes X No

                                                          Respectfully subm itted,

                                                          A RIAN A FAJARDO O RSH AN
                                                          UN ITED STATES AU ORN EY


                                                  BY :
                                                          LouisM anzo
                                                          TrialAttonzey
                                                          1400 New York Ave.NW
                                                          W ashington,DC
                                                          M assBarNum ber:688337
                                                          Telephone:(202)262-6570
                                                          E-mail:louisamanzo@ usdoj.gov
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AO 91(Rzv.t
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           'z
            bf
             8 CriminalComplaint

                                           UNITED STATES D ISTRICT COURT
                                                                  forthe
                                                      Soutllel-
                                                              n DistrictofFlorida

                    llnitetlStategofz'
                                     tnlerioa
                                   %'.
                          Latoya S'tanley                                 C'aseNo. 20-mj-03470-AOR
                              and
                          Johnny Philus

                            17kLlt,t3(l6t11/4:!)

          CIV M INAL COM PLAINT BY 'FELEPHONE OR O THI?R IV LIABLE ELECTRONIC M EANS

           1,thecolllplainantinthiscase,state thatthefollosving istlme to tltebestof111).know-ledge and belief.
Onoraboutthu(lIItets)of     Mav 2020throuchJulv2020     in thecounty of                                  viami-Dade                in t11e
   Southplp     -Districtof
                    - -           ylpqida       ,t
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                                                                                    Antonio Soto,Sm cialAcentTIGTA
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City and slate:                                                            Hon.AIi
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                   A FFIDA V IT IN SUPPO R T O F A CR IM IN AL C O M PLA IN T

           1,Antonio Soto,being firstduly sw ol
                                              nz,state:

                        A GEN T BA CK G RO U ND A ND INTR O DUC TIO N

                  Iam aSpecialAgent(&tSA'')withtheUnitedStatesTre%uryInspectorGeneralfor
    TaxAdministration (::TIGTA'')atldhavebeen soemployedsinceSeptember2007,Ihavebeen
    employed in 1aw enforcementfor approxim ately eighteen (18) years. 1am a graduate ofthe
    Crim inallnvestigatorTraining Prop am atthe FederalLaw Enforcem entTraining Center. 1am

    cun-ently assir edto the Southem Field Division C&SFD''),M iam i,Florida,office. Inthecourse
    ofm y 1aw enforcem entduties,Ihave investigated crim es involving w irefraud relating to Intelmal

    Revenue Selwice schem es. I also have experience investigating and m aking an-ests in cases

    involving fraud,
                                                                                                        !
           2.     This affidavit is m ade in support of a crim inal com plaint charging LATOY A

    STANLEY andJOHNNY PHILUS with wirefraud,inviolation of18U.S.C.j1343andfalse
    statem ents,in violation of18U.S.C.j 1001.
                  This aftidavit is bmsed on m y personalilw estigation and investigation by others,

    including federaland local1aw enforcem entofricialswhom Iknow to be reliable and tnlstw orthy.

    '
    lhe fqct.scontained herein have been obtained by exam ining docum ents obtained in the course of

    theilw estigation,asw ellasthrough otherm eans. Thisaffidavitdoesnotincludeevel'y factknown

    tom eaboutthisinvestigation,butratheronly thosefactssufficienttoestablislzprobablecause,

                            OV ERV IEW OF CRIM INA L C O ND UCT

                  In or around M arch 2020,the Coronavil-us Aid,Relief,and Econom ic Security

    ('LCARES'')wasenacted.Itwasdesi> edtoprovideemergencyfinancialassistancetothemillions
    ofA m ericansw ho are suffering the econom ic effectscaused by the CO VID -19 pandem ic. ln or
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    around M ay and June of 2020,STAN LEY and PH ILU S falsely and fraudulently applicd for

    Paycheck Protection Program (:TPP'')and EconomicInjury DisasterLoan (:&EIDL'')relief,as
    described in furtherdetailbelow .

                           O vexnriew ofDefendantsantlRelevantEntities

           5.     STANLEY isaresidentofM iami-DadeCounty,Florida.

                  PHILUS isa residentof M iam i-D adeCounty,Florida.

                  Dream Gurl Beauty Supply, LLC (hereinafter, ltDream Gurl'7) is a Florida
    cop oration tlzatw asfirstregistered w ith the Secretary of State ofFlorida in 2011. According to

    Florida corporate records, Dream Gurl is registered at 1275 N E 118st, M iam i, Florida, and

    STANLEY and PHILU S areboth listed asCEOsofthecom pany. Florida corporate recordsshow

    thebusinessw asin inactive statusuntilitfiled forreinstatem enton oraboutM ay 3,2020.

                  Elegance Auto Boutique, LLC (hereinaRer, iGElegance Auto'') is a Florida
    corporation '
                thatw asflrstregistered w ith the Secretary of State ofFlorida in 2011, According to

    Florida com orate records,PH ILU S is the listed CEO . '
                                                           Flze sam e records show the business is

    located at 1277 N E 118th St,Nliam i,Florida,which isthe sam e addressasPH ILUS'S residence,

    The businessw asin inactive statusuntilitfiled forreinstatem enton oraboutM ay 1,2020.

                  Bank 1was a federally insured nationalbank based in Utah. Bank 1isa Small

    BusinessAdministration C:SBA'')approved lenderandparticipated inthePPP asalendertosm all
    businesses.

                  Balzk 2 w asafederally insured nationalbank based in N olïh Carolilzaw ith branches

    nationwide. Bank 2 is an SBA-approved lenderand participated in the PPP as a lenderto sm all
    businesses.




                                                   2
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                  Company 1 participates in the PPP as a non-bank lender as w ellas an entity that

    connectsapplicantsw ith otherlenders. Sm allbusinesses seeking PPP loanscould apply throug,h

    Com pany 1 forthe loans. Com pany 1 subsequently partners w ith variousbalzks,incltlding Bank

    1,to disbursethe loans.

                           O verview ofthe Paycheck Protection Prosram

           12.    Asnoted above,the CA RES Actisa federal1aw enacted in oraround M arch 2020

    designedto provide em ergency financialassistanceto them illionsofAm ericansw ho aresuffering

    the econom ic effects caused by the COVID -19 pandem ic. One source ofreliefprovided by the

    CARES Actwastheauthorization ofupto $349billion in forgivableloansto smallbusinessesfor

    job retention and certain otherexpenses,throtlghthePPP. ln oraround April2020,Conress
    authorized over$300billion in additionalPPP funding,

           13.    In order to obtain a PPP loan, a qualifying business m ust subm it a PPP loan

    application, which is signed by an authorized representative of the business. The PPP loan

    application requires the business (through its authorized rçpresentative) to aclm owledge the
    program lulesand m ake cellain affilnnative certifications in orderto be eligibleto obtain the PPP

    loan.InthePPPloanapplication,thesmallbusiness(throughitsauthorizedrepresentative)must
    state,amongotherthings,its:(a)averagemonthlypayrollexpenses;and(b)numberofemployees.
    These figures are tlsed lo calculate the am ountofm oney the sm allbusiness is eligible to receive

    underthe PPP.In addition,businesses applyingforaPPP loan m ustprovidedocum entation to the

    lending institution showing theirpayrollexpelzses;typically,busilzessesw ould supply docum ent.
                                                                                                  s

    showingtheamountofpayrolltaxesreportedtotheIntem alRevenueService(t&IRS'').
           14.    A PPP loan applieation m ustbe processed by aparticipating lender. Ifa PPP loan

    application is approved,the pm-ticipating lenderfundsthe PPP loan using itsown m onies,which
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    are 100% guaranteed by the SBA . Data from the application,including infolmlation about the

    borrow er,the totalam otmtofthe loan,and the listed nulnber ofemployees,istransm itted by the

    lendertothe SBA in the course ofprocessing theloan.

                   PPP loan proceedsm ustbe used by thebusinesson certain perm issibleexpenses-

    payrollcosts,intereston m ol-tgages,rent,and utilities, The PPP allow sthe interestand principal

    on the PPP loan to be entirely forgiven ifthe business spendsthe loan proceeds on these expense

    item sw ithin a designated period oftim e aflerreceiving theproceeds and usesa cel-tain am ountof

    the PPP loan proceeds on payrollexpenses.


                     O ven liew ofthe Econontic Iniurv Disaster Loan Procram
                   'l'heEID L program isan SBA program thatprovideslow -interestfinancingto sm all

    businesses,renters,and hom eownersin regionsaffected by declared disasters.

                   The CA RES Actalso authorizesthe SBA to provide EIDLS ofup to $2 lnillion to

    eligible sm all businesses experiencing substantial tinancial dism ption due to the COV ID-19

    pandemic.In addition,theCARES ActautlzorizedtheSBA to issueadvancesofup to $10,000to

    sm all businesses within three days of applying for an EIDL. The am ount of the advance is

    detennined by the ntlm berofem ployeesthe applicantcertifieshaving,The advances do nothave

    to berepaid.

                   In order to obtain an EIDL and advance, a qualifying business m ust subm it atl

    application to the SBA and provide illfonnation about its operatiorks, such as the num ber of

    em ployees,grossrevenuesforthe lz-m onth period preceding the disaster,and costofgoodssold

    in the 12-m 011th period preceditlg the disaster. In the caseofEID LSforCO VID-19 relief,the 12-

    m onth period wasthatpreceding January 31,2020. The applicantm ustalso certify thatal1ofthe

    infonuation in the application istlale and con-
                                                  ectto the bestofthe applicant'sknow ledge.
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                   EID L applications are subm itted directly to 1he SBA . The am ount ofthe loan, if

    the application is approved, is determ ined based,in pal4,on 1he infonnation provided by the

    application aboutem ploym ent,reventle,and costof goods,as described above. Any fundsisstled

    under an EIDL or advance are issued directly by the SBA . EID L funds catlbe used forpayroll

    expenses,sick leave,production costs,andbusinessobligations,suchasdebts,rent,andmortgage

    paym ents. Ifthe applicantalso obtains a loan underthe PPP,the EIDL ftm ds cannotbe used for

    the sam epurpose asthe PPP funds.

                      PPP A pplicationsSubnzitted bv STAN LEY and PH ILUS

             2O,   Law enforcem entreceived infol-m ation regarding potentialfraud relatedto thePPP

    application subm itted by STA NLEY on behalfofDream Gurland PH ILUS on behalfofElegance

    ktuto,

             21.   Through a review of data lnaintained by the SBA, 1aw enforcem entlearned that

    STANLEY and PH ILU S subm itled PPP applications via Com pany 1,w hich padnered w itlzBank

    1to processboth PPP loan applications. Bank 1ultilnately disbursed approxim ately $538,325 to

    PH ILUS in connection w ith a PPP application subm itted in thenam e Elegance Auto on orabout

    M ay 8, 2020. Likewise, on or about M ay 15,2020, Bank 1 funded a löan in the am ount of

    approximately $302,860 to STANLEY in connection with a PPP application submitted in the
    nam e ofDream Gurl.

             22,   Law enforcem entreview ed theapplicationsforthe loansthatw erefunded by Bank

    1. These records show thatthetw o applicationsm adethe follow ing l'epresentationsregarding the

    num bersofemployees and average m onthly payroll:
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        N am e ofBusiness         Nam e ofListed        # ofEm ployees.      A vem ge M ontluy
            A     licant          R e resentative          Claim ed                Pa roll
           Dream Gurl              LatoyaStanley              18                  $121,144

          EleganceAuto             Jolm nyPhilus              29                  $215,330

                    On each loan application,STAN LEY and PH ILUS identified them selves asthe

    ow ners and authorized representatives of1he applicantbusiness.STA N LEY and PH ILU S signed

    and subm itted their applicationselectronically through an online po14a1operated by Com pany l.

                    Foreach PPP application,STA NLEY and PH IL US respectively cel-tified thatthe

    com pany w asin operation on Febnlary 15,2020 and had employeesforw hom itpaid salaries and

    payrolltaxes orpaid independentcontractors.

                    For each PPP application,STANLEY and PH ILUS also respectively cel-tified a1l

    SBA loan proceeds w ould be used only for business-related pulmoses as specified in the loan

    application and consistentw itlzthe PPP rules. They also certified thatthe fundsw ould beused to

    reiain w orkers and m aintain payroll or m ake m ol-tgage paym ents, lease paym ents,and utility

    paynzents;asspecified underthe PPP Rule.

                O ther R ecords Show the Inaccum cv ofthe PPP A oplications Subm itted

           26.      Despite the l'epresentations regarding the ntunber of em ployees,law enforcem ent

    obtained and reviewed recordsfrom theFlorida Departm entofRevenue,which requiresem ployers

    to reportrecordsofw agespaid to em ployeesby Florida com orations. The Florida D epartm entof

    Revenue had no record of wage infonnation paid to any em ployees of Elegance Auto or Dream

    Gurlin 2019 or 2020.

                   In fact, Florida com orate records show that neither com pany w as an active

    corporation priortothe CO VID-19 pandem ic.




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                      AccordingtotheFlorida Division ofCop orations,Drenm Gurlw asan inactive

                      Florida corporation untilon oraboutM ay 3,2020. Atthattim e,the cop oration

                      w asreinstated.The sam erecordsshow tlzatSTAN LEY and PH ILU S w erethe

                      com pany's authorized persons.

                  b. According te the Florida Division of Corporations, Elegance Auto was an

                      inactive Florida com oration untilon or about M ay 1,2020. Atthattim e,the

                      com oration was reinstated. The sam e records show that PH ILUS w as the

                      com pany's atlthorized person.


           28. In colzjunction with both PPP applicatiol.
                                                        ls and on belzalf oftheir respective
    businesses,STA NLEY atzd PH ILU S stlbm itted February 2020 accountstatem entsfronzBnnk 2.

    'Ihese stateluents,how ever,werefkaudulent.According to docum ents received from Bank 2,the

    accountsforb0th Elegance Auto and D ream Gurlwereonly opened in M ay of2020.

                  Inconjtlnctionwithbothapplicationsandonbehalfoftheirrespectivebtlsinesses,
    STANLEY and PH ILU S subm itted IRS Fonn 941s,which are qum-terly tax fonus.These fonns

    include thetotalnum ber of em ployees and conp ensation paid by a business to its em ployeesby

    quarter.The Fonu 941s thatSTA NLEY and PH ILUS subm itted,however,were fraudulent.The

    IRS hasno record ofeitlzerbusinessfiling a Form 941 in 2019 or in 2020.

                  A review ofbank accounts located at Bank 1 and at other banksthat STA NLEY

    and PH ILUS identified on recorded calls noted below revealed that Elegance Auto and Dream

    Gurldid nothave transactions consistent with the btksiness entel-
                                                                    prises claim ed in the respective

    loan applicatiolzs.Prior to receivihg hundreds of thousands of dollars in PPP ftm ds,the bank

    accounts associated with each business only engaged in sm qll dollar transactions. Law

    enforcem entw as unable to locate colnpensation to any em ployees. Instead,accounttransactions
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     seem ed consistentw ith personalbnnking,ratherthan business banking, and included purchasesat

    restaurant.
              s and consum erstores. Although STA NLEY and PH ILUS both represented thattheir

    businesses had m illions of dollars in payroll,account balances for each business w ere no m ore

    than afew thousand dollars and often in 1he negative.

                  C onqrm ation ofSTA NLEY and PH ILU S as the PPP Applicants

                   To confirm that STAN LEY and PH ILU S them selves did, in fact, subm it the

    fraudulentPPP applications,1aw enforcem entcontinued its ilw estigation by review ing additional

    recordsand conducting surveillance.

                  Law enfbrcementreceivedtheintenzetprotocol(:ElP'')addressassociatedwiththe
    PPP application for Dream Gtlrl. Law enforcem entw as able to obtain subscriber inform ation

    relatedtothisaccountfrom anintelmetserviceprovider(t:ISP'7),Accordingtotheintemetselwice
    provider,the subscriber ofthe IP addressw as STAN LEY .1

           33.    Law entbrcem ent also reviewed the phone num bers associated w ith each PPP

    application. A ccording to records from a telecom m tmications com pany,1he subscriberfor170th

    phonenum bersw as STA N LEY .

           34.    Law enforcem entreview ed recorded phone callsplaced to thenum berlisted on the

    Dream GurlPPP application, The callsw ere answ ered by an individualwho identified herselfas

    STANLEY.Onthesecalls,STANLEY madestatementsthat:(a)sheistheownerofDream Gurl;
    (b)Shepersonally appliedforthePPP application;(c)Dream Gurlhas$200,000in inventoryof
    hairandbeautyproducts;(d)TlzeForm 941ssubm ittedwiththePPP application areacctlrate;and




    1Although the IP addressfortheElegance Auto application belongedto thesam e ISP, theISP w as
    unable to provide any subscriberinfolnnation forthataddress.



                                                   8
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    (e)thephysicaladdressofthebusinessis1275NE 118th Street,which isastorefrontlocation
    where custom erscan walk in and shop.2

                   Law enforcem entalso review ed recorded phone calls placed to the numberlisted

     on the Elegance Auto PPP application. The calls were answered by an individualwho identified

    himself asPHILUS, On these calls,PHILUS made statementsthat:(a)he isthe ownerof
    EleganceAuto;(b)hepersonallysubmited thePPP applicationforElegance Auto;and(c)the
    physicaladdress ofthe business is located at 1277 N E l18th Street, PH ILU S also stated that

     Elegance Auto sells and leases vehicles and m otorcycles and thatthe com pany has 40 to 50 cars

     availableatanytime,with an estimatedfleetvalue ofover$1million. PHILUS also claimedthat
    m ostofthe cars in the fleetare located atthe 1277 N E 118th Streetlocation.

            36.    During the recorded call,PH ILUS w t
                                                      ls also asked about Dream Gurl. PH ILUS

     answered thathe isnotthe CEO of Dream G url,thathe did notknow ofD ream Gurl,and thathe

    w asunfam iliarwith STANLEY ,

            37.    Law elzforcem ent eonducted physicalsulweillance atthe 1275 and 1277 N E 118th

     Streetaddresseslisted on thetwo PPP applications. Law ellfbrcem entobsel-ved cars parked in

    front of the locations,w hich were registered to STA NLEY and PH ILU S. Law enforcem ent

     sulweillancerevealedthat1277NE 118thStreet(thepul-portedlocationoftheEleganceAutorental
    business)vvasa silzgle-fanAily honAe.Law enforcementobserved earsconsistentin num berwith
    thesize ofthehom e,ratherthan afleetofcars.

            38.    Finally, 1aw enforcelnent w as able to colzfinu the identity of STANLEY and

    PH ILU S viaphotographic evidence. STA NLEY and PH ILU S em ployed Bank 2's drive-through

    to open their accounts on the sam e day. Sulweillance footage eaptured a black Chevroletw ith


    2A sdiscussed below , 1aw enforcem entsurveilled thislocation,w hich is a single-fam ily hom e.



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    three digitsvisible on the license plate. A m ate drovethe ear The digits,asw ellasthem ake and
                                                                .




    m odelofthe car,are consistentw ith a vehicle registered to STA NLEY , w hich was observed in

    front of 1275 N E 118* Street, M iam i, Florida. Both STA NLEY and PH ILU S identified

    additionalbnnk accountsfortheirrespedive businesses on the recorded calls. Law enforcelnent

    reviewed stillsfrom smweillancefootagefrom those account. Stillsfortm accountbelonging to

    Elegance Auto show PH ILUS. Stillsforan accountbelongingto D ream Gurlshow STANLEY .

                                          EIDL A pplications

           39.    Separatefrom the PPP loans,law enforcem entqueried other SBA pandem ic relief

    programsto detennineifSTANLEY tmd PHILUShadapplied form oniesfrom thoseprograms.

           4O.    Law elzforcem ent located EIDL applications for both STAN LEY and PHILUS.

    STA NLEY and PH ILU S subm itted the application on or aboutJune 18,2020.'I'
                                                                               he application

    luaterials contained thefollow ing representations:

     Applicmzt        ,)' Typeof .' Iudùstry 'Occupation ' # of 7'
                      :                                                         ,Busin'
                                                                                      ess 't
      (            ',    Btlsiness . '                         r Em ployees ''
                                                                             A ddréss
                    '                        .
     ,.      %'            :.h     ''
                                    h      .t
                                            ''      . . ,.    . 'CljgW3.éd  jr
                                                                             ,. k ' .         .
     Latoya Stanley      Sole         A griculture Fanner        5            1275 N E 11801
                         Proprietor                                          Street,M iam i,
                                                                             Florida
     Johnny Philtls      Sole       A griculture Fanrer          10          535 N W 127th
                         Proprietor                                          Street,N orth
                                                                             M iam i,Florida3

                  During thc loan application process,the SBA com m unicated with 1:0th individuals

    viatlze phone num berprovided on the EIDL applicatiolz. 7Xe phone ntlmbersfor STA NLEY and

    PH ILU S w ere identicalto the phone num bersthatSTAN LEY and PH ILU S subm itted w ith their

    PPP applications. STANLEY and PH ILU S subsequently elnailed tax infonnation to the SBA to

    supporttheir application.


    3Law EnforcementhasreviewedPHILUS'Sdriver'slicensewhich listshishomeaddressas535NE 127+ Street
    NorthMiami,Florida,whichisnearlyidenticaltotheaddresslisted ontheEIDL application.
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                 42.               ST ANLEY subm itted tax information claim ing that her farm pl
                                                                                                'oduced

       approximately$899,000 in incomein20l9.PHILUS submittedtaxinformationclaim ingthathis

       fann produced approxilnately$400,900 in income in20l9.

                 43.               TheSBA approved fllnding PH ILUS for$150.000 andSTANLEY for8137,500.
                 44.               Law enfbrcementstlrveilled the businessaddresslisted c)n Loth applications.The
   '
       addressesare single family residentialIlolneso11smalllots. Tlley are wholly incongruouswith

       Iarge scale farm ing.

                                                                         Conclusion

                 45.               Basedonmytrainingand experience,andtheinfbrlnationpl-ovided inthisat-
                                                                                                       lidavit,

        respectfully subm itthatthere is probable catlse to Lelieve that LATOYA STANLEY and

       JOHNNY PHILUScommittedwircfratld,inviolationof18U.S.C.j1343andfalsestatements,
       in violationot-18 U.S.C.j 1Q01.


       FURTHER YOUR AFFIANT SAYETH NAUGHT.

                                                                                                  ''
                                                                                                .-
                                                                               -           .*



                                                                          SpecialAgentAntonio Soto
                                                                          Treasury IllspectorGeneralTax Atllnîllistratiol)



       AtlestedtobytheApplicantinaccordancewiththerekuifementsofFed.R.Crim.P.4.lby
       Face Time thls 25th day ofA ugusl2020.

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